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             EXHIBIT A
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                                      RETURN OF NON-SERVICE
                                   UNITED STATES DISTRICT COURT
                                           District of Florida
   Case Number: 1:23-CV-23933-FAM
   Plaintiff: MIAMI FINE FOODS, LLC and AVI ASSOR
   vs.
   Defendant: BETTYSMAR DIAZ and SUCESION SIMON DIAZ
   MARQUEZ
   For:
   Jaime Vining, Esq
   FRIEDLAND VINING
   Received by DLE Process Servers, Inc on the 14th day of December, 2023 at 11:49 am to be served on
   Bettsymar Diaz, 3921 N. Meridan Ave, Apt. A, Miami Beach, FL 33140.

   I, Henry Pinto, do hereby affirm that on the 18th day of January, 2024 at 4:20 pm, I:
   NON-SERVED the Summons in a Civil Action, Defendant's Answer, Affirmative Defenses, and
   Counterclaim to Complaint, Exhibits for the reason that I failed to find Bettsymar Diaz or any
   information to allow further search. Read the comments below for further details.
   Additional Information pertaining to this Service:
   12/19/2023 9:33 am Attempted service at 3921 N. Meridan Ave Apt. A, Miami Beach, FL 33140 knocked
   several times no answer no noise no management on premises
   12/21/2023 5:43 pm Attempted service at 3921 N. Meridan Ave Apt. A, Miami Beach, FL 33140 knocked
   several times apt A, no answer no noise no one came to door.
   12/27/2023 8:39 am Attempted service at 3921 N. Meridan Ave Apt. A, Miami Beach, FL 33140 knocked
   several times no answer no noise no contact
   1/5/2024 7:44 pm Attempted service at 3921 N. Meridan Ave Apt. A, Miami Beach, FL 33140 knocked
   several times no answer no noise no contact made, left card on door
   1/17/2024 6:47 pm Attempted service at 10546 Nw 51 Street, Miami, FL 33178 knocked several times no
   answer no noise no vehicles all dark no contact made
   1/17/2024 7:02 pm Attempted service at 4708 Nw 114th Avenue Unit 101, Miami, FL 33178 knocked
   several times no answer no noise no contact made
   1/17/2024 5:24 pm Attempted service at 3921 N. Meridan Ave Apt. A, Miami Beach, FL 33140 stood by
   door prior to knocking no noise knocked several times no answer no noise no contact made
   1/17/2024 4:59 pm Attempted service at 1622 Bay Rd #101, Miami Beach, FL 33139 spoke to Gabriel
   German who stated he doesn't know this individual and this person doesn't live here, he added he just
   moved her in November no further information provided.

   I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
   Server, in good standing, in the judicial circuit in which the process was served.
   Under penalties of perjury, I declare that I have read the foregoing Verified Return of Service and that the
   facts stated are true. F.S. 92.525. NOTARY NOT REQUIRED PURSUANT TO F.S. 92.525



                                                                             Henry Pinto
                                                                             CPS 2351

                                                                             DLE Process Servers, Inc
                                                                             936 Sw 1st Avenue
                                                                             #261
                                                                             Miami, FL 33130
                                                                             (786) 220-9705

                                                                             Our Job Serial Number: DLE-2023063760
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